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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

DANIELLE GARDNER,                         §
                                          §
       Plaintiff,                         §
                                          §
v.                                        §      CIVIL ACTION NO. 3:20-cv-02520
                                          §
TYSON FOODS, INC.,                        §
                                          §
            Defendant.                    §


                      DEFENDANT TYSON FOODS, INC.'S
                          NOTICE OF REMOVAL


       Pursuant to 28 U.S.C. § 1441, Defendant, Tyson Foods, Inc., Inc. ("Tyson" or

"Defendant"), hereby removes to this Court, the state court action described in

Paragraph 1 below. Pursuant to 28 U.S.C. § 1446(a), Defendant sets forth the

following "short and plain statement of the grounds for removal."

                               A.     THE REMOVED CASE

       1.      The removed case is a civil action filed with the 298th Judicial District

Court of Dallas County, Texas, on June 26, 2020, styled Danielle Gardner v. Tyson

Foods, Inc., Cause No. DC-20-08778.

                 B.      DOCUMENTS FROM REMOVED ACTION

       2.      Pursuant to Local Rule 81.1, Defendant attaches the following

documents to this Notice of Removal:

               (a)    an index of all documents that clearly identifies each document
                      and indicates the date the document was filed in state court;


DEFENDANT TYSON FOODS, INC.’S NOTICE OF REMOVAL                                  Page 1
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                  (b)     a copy of the docket sheet in the state court action; and

                  (c)     each document filed in the state court action, except discovery
                          material, with each document filed as a separate attachment.

          Additionally, Defendant is simultaneously filing a separately signed

Certificate of Interested Persons that complies with Local Rule 3.1(c).

                                   C.    REMOVAL IS TIMELY

          3.      Plaintiff, Danielle Gardner ("Plaintiff"), filed the present civil suit

against Defendant in the 298th Judicial District Court of Dallas County, Texas (the

"Dallas County court") on June 26, 2020. Defendant was served with Plaintiff's

Original Petition ("the Petition") on July 27, 2020. In the Petition, Plaintiff asserts

negligence-based causes of action and claims for personal injury damages against

Defendant.

          4.      Defendant has filed this Notice of Removal within thirty days after

receiving papers indicating that the present lawsuit was filed in the Dallas County

court, and subsequently became removable to the United States District Court for the

Northern District of Texas. Therefore, Defendant contends that this removal is timely

made. 1

                                    D.   VENUE IS PROPER

          5.      The United States District Court for the Northern District of Texas,

Dallas Division, is the proper venue for removal of the state court action pursuant to

28 U.S.C. § 1441(a) because the 298th Judicial District Court of Dallas County, Texas




1   See, 28 U.S.C. § 1446(b)(3).

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is located within the jurisdiction of the United States District Court for the Northern

District of Texas, Dallas Division.

                         E.      DIVERSITY OF CITIZENSHIP EXISTS

           6.      This is a civil action that falls under the Court's original jurisdiction

pursuant to 28 U.S.C. § 1332 and is one that may be removed to this Court based on

diversity of citizenship in accordance with 28 U.S.C. §§ 1441 and 1446.

           7.      As admitted in the Petition, Plaintiff is a citizen of Texas. 2

           8.      Defendant is a foreign corporation formed under the laws of the State of

Delaware. Defendant's primary place of business is in the State of Arkansas.

Pursuant to 28 U.S.C. § 1332(c)(1), Defendant is not a citizen of the State of Texas.

Rather, Defendant is a citizen of both Delaware and Arkansas.

           9.      Because Plaintiff is a citizen of the State of Texas and Defendant is a

citizen of a different state, complete diversity of citizenship exists pursuant to 28

U.S.C. § 1332.

    F.       THE AMOUNT IN CONTROVERSY REQUIREMENT IS SATISFIED

           10.     In her Petition, Plaintiff states that she seeks monetary relief more than

$200,000 but not more than $1,000,000. 3 As such, Plaintiff seeks to recover damages

in excess of $75,000.

           11.     Based on the aforementioned facts, the current state court action may

be removed to the United States District Court for the Northern District of Texas,

Dallas Division, by Defendant in accordance with the provisions of 28 U.S.C. § 1441(a)


2   See, Plaintiff’s Original Petition at p. 1, ¶ 3.
3   Id. at p. 3, ¶14.

DEFENDANT TYSON FOODS, INC.’S NOTICE OF REMOVAL                                       Page 3
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because: (i) this action is a civil action pending within the jurisdiction of the United

States District Court for the Northern District of Texas; (ii) this action is between

citizens of different states; and (iii) the amount in controversy will exceed $75,000,

exclusive of interest and costs.

                      G.    FILING OF REMOVAL PAPERS

      12.    Pursuant to 28 U.S.C. § 1446(d), Defendant is providing written notice

of the filing of this Notice of Removal to all counsel of record and is filing a copy of

this Notice with the Clerk of the 298th Judicial District Court of Dallas County, Texas,

where this action was originally commenced.

                                   H.   CONCLUSION

      13.    Defendant hereby removes the above-captioned action from the 298th

Judicial District Court of Dallas County, Texas, and requests that further

proceedings be conducted in the United States District Court for the Northern

District of Texas, Dallas Division, as provided by law.

                                        Respectfully submitted,

                                        MAYER LLP

                                        750 N. St. Paul Street, Suite 700
                                        Dallas, Texas 75201
                                        Telephone: 214.379.6900
                                        Facsimile: 214.379.6939

                                        By:     /s/ Zach T. Mayer
                                               Zach T. Mayer
                                               Texas State Bar No. 24013118
                                               Email: zmayer@mayerllp.com
                                               J. Edward Johnson
                                               Texas State Bar No. 24070001
                                               Email: ejohnson@mayerllp.com

DEFENDANT TYSON FOODS, INC.’S NOTICE OF REMOVAL                                  Page 4
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                                               Brandon W. Maxey
                                               Texas State Bar No. 24092777
                                               Email: bmaxey@mayerllp.com

                                         ATTORNEYS FOR DEFENDANT
                                         TYSON FOODS, INC.

                           CERTIFICATE OF SERVICE

       This is to certify that on the 26th day of August 2020, a true and correct copy of
the foregoing has been forwarded to all counsel of record, as follows:

        Via ECF:
        moises@cedilloslaw.com
        J. Moises Cedillos
        CEDILLOS LAW FIRM, PLLC
        3801 Kirby Drive, Suite 510
        Houston, Texas 77098


                                                    /s/ Zach T. Mayer
                                                         Zach T. Mayer




DEFENDANT TYSON FOODS, INC.’S NOTICE OF REMOVAL                                   Page 5
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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF TEXAS
                             DALLAS DIVISION

DANIELLE GARDNER,                       §
                                        §
       Plaintiff,                       §
                                        §
v.                                      §      CIVIL ACTION NO. 3:20-cv-02520
                                        §
TYSON FOODS, INC.,                      §
                                        §
        Defendant.                      §


      DEFENDANT’S INDEX OF DOCUMENTS PURSUANT TO LR 81.1


       Exhibit A    Docket Sheet in the State Court Action;

       Exhibit B    Plaintiff’s Original Petition (with written discovery
                    requests attached) filed with the Dallas County Clerk on
                    June 26, 2020);

       Exhibit C    Civil Process Request with Citation for Defendant Tyson
                    Foods, Inc. (issued on June 30, 2020);

       Exhibit D    Return of Service of Citation for Defendant Tyson Foods,
                    Inc. (filed on July 28, 2020);

       Exhibit E    Defendant’s Original Answer (filed with the Dallas County
                    Clerk on August 14, 2020);

       Exhibit F    Correspondence from District Clerk regarding Jury
                    Demand;

       Exhibit G    Letter from Judge Tobolowsky to Plaintiff’s Counsel with
                    Notice of Jury Trial Setting (dated August 17, 2020)

       Exhibit H    File Copy of Regarding Notice of Jury Trial Setting (dated
                    August 17, 2020)

       Exhibit I    Letter from Judge Tobolowsky to Defendant’s Counsel with
                    Notice of Jury Trial Setting (dated August 17, 2020)


DEFENDANT’S INDEX OF DOCUMENTS PURSUANT TO LR 81.1
PAGE 1 OF 2                                      7359519v1 (58140.00195.000)
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                                         Respectfully submitted,

                                         MAYER LLP

                                         750 N. St. Paul Street, Suite 700
                                         Dallas, Texas 75201
                                         Telephone: 214.379.6900
                                         Facsimile: 214.379.6939


                                         By:    /s/ Zach T. Mayer
                                               Zach T. Mayer
                                               State Bar No. 24013118
                                               Email: zmayer@mayerllp.com
                                               J. Edward Johnson
                                               Texas State Bar No. 24070001
                                               Email: ejohnson@mayerllp.com
                                               Brandon W. Maxey
                                               State Bar No. 24092777
                                               Email: bmaxey@mayerllp.com

                                         ATTORNEYS FOR DEFENDANT
                                         TYSON FOODS, INC.


                           CERTIFICATE OF SERVICE

       This is to certify that on the 26th day of August 2020, a true and correct copy of
the foregoing has been forwarded to all counsel of record, as follows:

        Via ECF:
        moises@cedilloslaw.com
        J. Moises Cedillos
        CEDILLOS LAW FIRM, PLLC
        3801 Kirby Drive, Suite 510
        Houston, Texas 77098


                                                    /s/ Zach T. Mayer
                                                         Zach T. Mayer




DEFENDANT’S INDEX OF DOCUMENTS PURSUANT TO LR 81.1
PAGE 2 OF 2                                      7359519v1 (58140.00195.000)
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         EXHIBIT "A"
Details                                                                                Page 1 of 4
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           Case Information

           DC-20-08778 I DANIELLE GARDNER vs . TYSON FOODS INC.

           Case Number                  Court                     Judicial Officer
           DC-20-08778                  298th District Court      TOBOLOWSKY, EMILY
           File Date                    Case Type                 Case Status
           06/26/2020                   OTHER PERSONAL INJURY     OPEN




           Party

           PLAINTIFF                                              Active Attorneys Ú
           GARDNER, DANIELLE                                      Lead Attorney
                                                                  CEDILLOS, J MOISES
                                                                  Retained




           DEFENDANT                                              Active Attorneys Ú
           TYSON FOODS INC.                                       Lead Attorney
           Address                                                MAYER, ZACH T
           SERVING REGISTERED AGENT CT CORPORATION SYSTEM         Retained
           1999 BRYAN ST STE 900
           DALLAS TX 75201




https://courtsportal.dallascounty.org/DALLASPROD/Home/WorkspaceMode?p=0                 8/24/2020
Details                                                                          Page 2 of 4
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            Events and Hearings


              06/26/2020 NEW CASE FILED (OCA) - CIVIL


              06/26/2020 ORIGINAL PETITION Ú


              ORIGINAL PETITION


              06/26/2020 ISSUE CITATION Ú


              ISSUE CITATION -TYSON FOODS INC.


              06/26/2020 REQUEST FOR SERVICE Ú


              CIVIL PROCESS REQUEST


              06/30/2020 CITATION Ú


              Served
              07/27/2020

              Anticipated Server
              ESERVE

              Anticipated Method
              Actual Server
              PRIVATE PROCESS SERVER

              Returned
              07/28/2020
              Comment
              TYSON FOODS INC.


              07/28/2020 RETURN OF SERVICE Ú


              EXECUTED CITATION : TYSON FOODS INC.

                Comment
                EXECUTED CITATION: TYSON FOODS INC.


              08/14/2020 JURY DEMAND Ú


              JURY DEMAND FORM


              08/14/2020 ORIGINAL ANSWER - GENERAL DENIAL Ú


              ORIGINAL ANSWER - GENERAL DENIAL




https://courtsportal.dallascounty.org/DALLASPROD/Home/WorkspaceMode?p=0           8/24/2020
Details                                                                                         Page 3 of 4
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              04/26/2021 Jury Trial - Civil Ú


              Jury Trial Notice

              Jury Trial Notice

              Jury Trial Notice

              Judicial Officer
              TOBOLOWSKY, EMILY

              Hearing Time
              9:00 AM




            Financial

            GARDNER , DANIELLE
                 Total Financial Assessment                                           $340.00
                 Total Payments and Credits                                           $340.00


             6/26/2020     Transaction                                               $340.00
                           Assessment

             6/26/2020     CREDIT CARD -        Receipt # 37483-    GARDNER,        ($340.00)
                           TEXFILE (DC)         2020-DCLK           DANIELLE
            TYSON FOODS INC.
                 Total Financial Assessment                                            $40.00
                 Total Payments and Credits                                            $40.00


             8/14/2020     Transaction                                                $40.00
                           Assessment

             8/14/2020     CREDIT CARD -         Receipt # 48986-     TYSON FOODS    ($40.00)
                           TEXFILE (DC)          2020-DCLK            INC.




https://courtsportal.dallascounty.org/DALLASPROD/Home/WorkspaceMode?p=0                          8/24/2020
Details                                                                       Page 4 of 4
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            Documents


              CIVIL PROCESS REQUEST

              ORIGINAL PETITION

              ISSUE CITATION -TYSON FOODS INC.

              EXECUTED CITATION: TYSON FOODS INC.

              DEF/FILING JURY DEMAND

              ORIGINAL ANSWER - GENERAL DENIAL

              JURY DEMAND FORM

              Jury Trial Notice

              Jury Trial Notice

              Jury Trial Notice




https://courtsportal.dallascounty.org/DALLASPROD/Home/WorkspaceMode?p=0        8/24/2020
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          EXHIBIT "B"
                                                                                                               FILED
JURY DEMAND                                                                                       6/26/2020 11:05 AM
                                                                                                      FELICIA PITRE
   Case 3:20-cv-02520-X Document 1 Filed 08/26/20                 Page 14 of 59     PageID 14       DISTRICT CLERK
                                                                                                 DALLAS CO., TEXAS
                                                                                         JAVIER HERNANDEZ DEPUTY
                                                   DC-20-08778
                                          CAUSE NO. - - -

DANIELLE GARDNER,                                      §             IN THE DISTRICT COURT
                                                       §
                Plaintiff,                             §
v.                                                     §            DALLASCOUNTY, TEXAS
                                                       §
TYSON FOODS, INC,                                      §
                                                       §            298TH
                Defendant.                             §                 JUDICIAL DISTRICT

                             PLAINTIFF'S ORIGINAL PETITION

         Danielle Gardner ("Plaintiff' or "Mrs. Gardner") files her Original Petition against Tyson

Foods, Inc. ("Defendant" or "Tyson Foods") as follows:

                                          I.         DISCOVERY

         1.     Plaintiff intends to conduct discovery under Level 2 of Tux. R. C1v. P. 190.

                                    IT.        NATURE OF ACTION

         2.     Plaintiff sues Defendant for back injw-ies sustained while performing work for

Tyson Foods, based on claims for negligence and gross negligence.             Tyson Foods had a

nondelegable duty to provide Mrs. Gardner, an employee of Defendant, with a reasonable safe

workplace but failed to do so.

                                               ID.    PARTIES

         3.     Plaintiff is an individual who resides in Dallas County, Texas, and is a citizen of

Texas.

         4.     Defendant is a for-profit corporation doing business in Texas and Dallas County,

Texas that may be served with process by serving its registered agent for service of process CT

Corporation System, at 1999 Bryan Street, Suite 900, Dallas, Texas 75201.

                              IV.         JURISDICTION AND VENUE

         5.     Venue is proper in Dallas County, Texas pursuant to TEX. C1v. PR.AC. & REM.


PLAINTIFF'S ORIGINAL PETITION- Page I
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CODE§ 15.002(a)(l) because all or a substantial part of the events or omissions giving rise to the

claim occurred in Dallas County, Texas.

       6.         This Court has subject matter jurisdiction because the amount in controversy

exceeds the minimum jurisdictional amount of this Court

                                V.      FACTUAL BACKGROUND

       7.         On October 30, 2019, Mrs. Gardner was performing work for Tyson Foods at

4114 Mint Way in Dallas County, Texas. That day, Plaintiff was instructed by her supervisor to

lift heavy bags of product on her own. At one point, Mrs. Gardner, while lifting a heavy bag,

experienced severe back pain, resulting in serious injuries to Plaintiff ("the Incident").

            VI.        NEGLIGENCE AND GROSS NEGLIGENCE OF DEFENDANT

       8.         Plaintiff incorporates all factual allegations made above.

       9.         Defendant failed to do that which a person of ordinary prudence would have done

under the same or similar circumstances or did that which a person of ordinary prudence would

not have done under the same or similar circumstances.

        10.       For example, Defendant was negligent by failing to:

                  a.      institute and enforce proper and effective safety programs, instruction,
                          supervision, and training;

                  b.      properly warn and instruct Plaintiff;

                  c.      provide reasonably safe equipment necessary for performance of the job;
                          and,

                  d.      provide Plaintiff with a safe work place.

        11.       Each of the above-listed acts and/or omissions, taken singularly or in any

combination, rise to the level of gross negligence/ "malice." Defendant's acts and omissions,

when viewed objectively from the standpoint of the actor at the time of its occurrence, involved



PLAINTIFF'S ORIGINAL PETITION- Page 2
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    Case 3:20-cv-02520-X Document 1 Filed 08/26/20                 Page 16 of 59 PageID 16


an extreme degree of risk, considering the probability and magnitude of harm to others. Tyson

Foods arranged for Plaintiff's work and was responsible for Plaintiffs safety and those similarly

situated. Tyson Foods knowingly disregarded its duty to provide a safe work place; that is,

Tyson Foods knowingly disregarded its duty to protect Plaintiff (and those similarly situated)

from the injuries suffered by Plaintiff. Tyson Foods had actual, subjective awareness of the risk

involved, but nevertheless proceeded with conscious indifference to the rights, safety, or welfare

of others. Therefore, Tyson Foods' conduct amounts to gross negligence for which Defendant is

liable for exemplary damages.

                             VIII. CAUSATION AND DAMAGES

       12.     Plaintiff incorporates all factual allegations made above.

       13.     As a proximate result of all Defendant's negligent and grossly negligent acts

and/or omissions, Plaintiff has suffered in the past and will continue to suffer in the future:

medical and healthcare expenses; lost wages and lost earning capacity; loss of her own

household services; pain and suffering; mental anguish; emotional distress; physical and mental

impairment; disfigurement; and loss of enjoyment of life.

        14.    Pursuant to Rule 47(c) of the Texas Rules of Civil Procedure, Plaintiff seeks

monetary relief over$ 200,000 but not more than $1,000,000.

                                      VIll. JURY DEMAND

        15.     Plaintiff respectfully demands a trial by jury on all of her claims, the jury fee

having been deposited with the Clerk of the Court.

                              IX.     ALTERNATIVE PLEADINGS

        16.     To the extent facts or causes of actions pled in this Original Petition are in

conflict, they are pied in the alternative.



PLAINTIFF'S ORIGINAL PETITION- Page 3
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                                     X.    RULE 193.7 NOTICE

        17.    Pursuant to Rule 193.7 of the Texas Rules of Civil Procedure, Plaintiff hereby

gives notice that all documents produced by Defendant in response to any discovery request may

be used at any pretrial proceeding or in the trial of this matter.

                                XI.       PRESERVING EVIDENCE

        18.     Plaintiff requests that Defendant preserve and maintain all evidence pertaining to

any claim or defense related to the Incident made the basis of this lawsuit or the damages

resulting therefrom.    Failure to maintain such evidence will constitute "spoliation" of the

evidence.

                              XII.    REQUEST FOR DISCLOSURE

        19.     Plaintiff requests that Defendant provide Plaintiff with the information or material

described in Rule 194.2(a)-(l) of the Texas Rules of Civil Procedure at the offices of the

undersigned counsel within 50 days of service of this document

                                           XIII. PRAYER

        20.     Plaintiff prays that judgment be entered against Defendant for:

                a.      actual compensatory damages;

                b.      all costs of court expended herein;

                c.      pre-judgment and post-judgment interest at the maximum rate
                        allowed by law;

                d.      exemplary/punitive damages; and

                        all other relief to which Plaintiff is justly entitled.




PLAINTIFF'S ORIGINAL PETITION- Page 4
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    Case 3:20-cv-02520-X Document 1 Filed 08/26/20           Page 18 of 59 PageID 18


Dated:   June 26 2020
         Houston Te a

                                        Respectfully submitted,

                                         EDILLO       AW IRM     PLL



                                                        edillo
                                                  Bar o. 24080828
                                           3801 Kirby D . uit 510
                                           Houston T as 77098
                                           (832) 900-9456
                                           (832) 900-9456 (fax)
                                           moises@c~~dilloslaw .cilm

                                           A      0     Y 0 ' PLAINTIFF




PLAINTIFF'S ORIGINAL PETITION- Page 5
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                                      CAUSE NO. - - -

DANIELLE GARDNER,                                 §                   IN THE DISTRICT COURT
                                                  §
                Plaintiff,                        §
V.                                                §                 DALLAS COUNTY, TEXAS
                                                  §
TYSON FOODS, INC,                                 §
                                                  §
                Defendant.                        §                         JUDICIAL DISTRICT

         PLAINTIFF'S FIRST REQUEST FOR PRODUCTION TO DEFENDANT

TO:     Defendant Tyson Foods, Inc., which may be served with service of process by serving its
        registered agent for service of process, CT Corporation System, at 1999 Bryan Street, Suite
        900, Dallas, Texas 75201.

        Pursuant to Rule 196 of the Texas Rules of Civil Procedure, Danielle Gardner serves the

following First Request for Production on Tyson Foods, Inc. and requests that Defendant produce

the following documents within fifty (50) days from service of this request.




PLAINTIFF'S FIRST REQUEST FOR PRODUCTION TO DEFENDANT - Page 1
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                                        INSTRUCTIONS

       1.      Defendant(s) must either produce the requested documents and tangible things as

they are kept in the usual course of business or organize and label them to correspond with the

categories in the request.

       2.      In the event that a document called for by these requests has been destroyed, the

response hereto shall identify the preparer of the document, its addresser, addressee, each recipient

thereof, each person to whom distributed or shown, date prepared, date transmitted (if different),

date received, a description of the contents and subject matter, the date of its destruction, the

manner of its destruction, the name, title, and address of person who authorized its destruction, the

reason for its destruction, the name, title and address of the person destroying the document and a

description of efforts to locate the document and copy it.

        3.     The request for documents set forth below shall be deemed to be continuing so as

to require supplemental responses if additional documents specified are obtained or discovered

between the time of responding to this request and the final disposition of this action.

                                          DEFINITIONS

                As used herein, the following terms shall have the meanings indicated below:

        1.      "Persons" shall include individuals, natural persons, firms, corporations,

partnerships, sole proprietorships, unions, associations, federations or any other kind of entity.

        2.      "Plaintiff'' or "Mrs. Gardner" shall mean Danielle Gardner.

        3.      "Defendant" or "Tyson Foods" shall mean Tyson Foods, Inc., as well as agents,

 employees, representatives, attorneys, investigators, and all other persons acting for said party.

        4.      "You" or "your" shall refer to each respective party to whom this request is

 directed, and each such party's agents, servants, and representatives.



PLAINTIFF'S FIRST REQUEST FOR PRODUCTION TO DEFENDANT - Page 2
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       5.     "Incident" shall mean the occurrence on or about October 30, 2019 when Plaintiff,

while lifting a heavy bag, allegedly injured her back.

       6.     The "Bag" shall refer to the bag Plaintiff was lifting at the time of the Incident.

       7.      "Injuries" refers to the injuries suffered by Plaintiff resulting from the Incident.

       8.      The "Premises" or "Site" refers to 4114 Mint Way in Dallas County, Texas, where

the Incident allegedly occurred.

       9.      "And" or "or" shall be construed conjunctively or disjunctively as necessary to make

the requests for production inclusive rather than exclusive.

        10.    "Referring to" "relating to" or "concerning" means to consist of, refer to, arise from,

reflect or be in any way logically or factually connected to, directly or indirectly, with a matter

discussed either in whole or in part.

        11.    "Docwnent(s)" is used in the broadest sense and shall include all tangible items of any

nature, both original and copies (whether or not identical), and all attachments and appendices thereof

and all drafts thereof including, but not limited to, agreements, contracts, communications,

correspondence, letters, telegrams, text messages, emails, memoranda, records, reports, books,

summaries or other records of personal conversations, minutes, summaries or other records of

meetings and conferences, summaries or other records of negotiation, diaries, diary items, calendars,

appointment books, time records, visitor records, forecasts, statistical data, statistical statements,

financial statements, work sheets, work papers, drafts, graphs, maps, charts, appraisals, brochures,

pamphlets, circulars, trade letters, press releases, notes, marginal notations, telephone bills or records,

bills, statements, records of obligation and expenditure, invoices, lists, journals, advertising,

recommendations, files, printouts, compilations, tabulations, purchase orders, receipts, orders,

confirmations, meetings, checks, canceled checks, letters of credit, envelopes, folders or similar



PLAINTIFF'S FIRST REQUEST FOR PRODUCTION TO DEFENDANT - Page 3
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containers, vouchers, analyses, surveys, transcripts of hearings, transcripts of testimony, expense

reports, microfilm, microfiche, articles, speeches, tape or disk recordings, voice recordings, video

records, film, tape, punch cards, programs, and data computations from which information can be

obtained or translated into usable form (including matter used in data processing) and any other

writing of whatsoever description including, but not limited to, any information contained in any

computer, although not yet printed out within the possession, custody or control ofDefendant(s), their

agents, representatives or attorneys.




PLAINTIFF'S FIRST REQUEST FOR PRODUCTION TO DEFENDANT · Page 4
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         PLAINTIFF'S FIRST REQUEST FOR PRODUCTION TO DEFENDANT


REQUEST FOR PRODUCTION NO. 1:

               All documents that contain information from persons with knowledge ofrelevant facts

of the Incident, including but not limited to written or recorded statements.

RESPONSE:


REQUEST FOR PRODUCTION NO. 2:

                All photographs, videos and drawings of the Bag, Mrs. Gardner or the location of the

Incident at the Site, both before and following the Incident.

RESPONSE:


REQUEST FOR PRODUCTION NO. 3:

                All surveillance video for the Incident.

RESPONSE:


REQUEST FOR PRODUCTION NO. 4:

                Defendant's document retention policies.

RESPONSE:


REQUEST FOR PRODUCTION NO. 5:

                All internal and external memoranda, correspondence and e-mails that relate in any

way to the Incident or the work that was being performed by Plaintiff, excluding any

communications to attorneys protected by attorney-client privilege.

RESPONSE:




PLAINTIFF'S FIRST REQUEST FOR PRODUCTION TO DEFENDANT - Page 5
20021/2.4.2
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REQUEST FOR PRODUCTION NO. 6.:

               All documents pertaining, relating or referring in any way to Plaintiffs Injuries,

including but not limited to medical records.

RESPONSE:


REQUEST FOR PRODUCTION NO. 7.:

               Plaintiffs complete personnel file.

RESPONSE:


REQUEST FOR PRODUCTION NO. 8.:

               Plaintiffs training transcript.

RESPONSE:


REQUEST FOR PRODUCTION NO. 9.:

               All employee manuals, handbooks, and policies and procedures in any way

discussing how to safely lift/move bags of product at the Site in effect at the time of the Incident.

RESPONSE:


REQUEST FOR PRODUCTION NO. 10.:

               All training in any way discussing how to lift/move bags of product at the Site in

effect at the time of the Incident.

RESPONSE:


REQUEST FOR PRODUCTION NO. 11.:

                All documents pertaining, relating or referring to your instructions to Plaintiff.

RESPONSE:


PLAINTIFF'S FIRST REQUEST FOR PRODUCTION TO DEFENDANT - Page 6
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REQUEST FOR PRODUCTION NO. 12.:

                  All reprimands (of any of your employees) related to the Incident.

RESPONSE:


REQUEST FOR PRODUCTION NO. 13.:

                  All documents that you contend evidence that Plaintiffwas contributorily negligent

in causing her own injuries.

RESPONSE:


REQUEST FOR PRODUCTION NO. 14.:

                  All documents reflecting your findings or conclusions in connection with the

Incident.

RESPONSE:


REQUEST FOR PRODUCTION NO. 15.:

                  All correspondence with Plaintiff and all documents signed or submitted by her to

you.

RESPONSE:


REQUEST FOR PRODUCTION NO. 16.:

                  For the individual(s) who supervised Plaintiff at the Premises, his or her complete

personnel file.

RESPONSE:




PLAINTIFF'S FIRST REQUEST FOR PRODUCTION TO DEFENDANT - Page 7
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REQUEST FOR PRODUCTION NO. 17.:

               All documents pertaining, relating or referring to your warnings or instructions to

Tyson Food employees regarding lifting/moving bags of product for the three-year period

preceding the Incident.

RESPONSE:


REQUEST FOR PRODUCTION NO. 18.:

               All complaints by Tyson Food employees relating or referring in any way to

lifting/moving bags of product at the Site from October 30, 2016 to the present.

RESPONSE:


REQUEST FOR PRODUCTION NO. 19.:

               All prior demands, lawsuits and other documents pertaining to injuries allegedly

sustained by Tyson Food employees in lifting/moving bags of product at the Site from October 30,

2016 to the present.

RESPONSE:




PLAINTIFF'S FIRST REQUEST FOR PRODUCTION TO DEFENDANT - Page 8
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    Case 3:20-cv-02520-X Document 1 Filed 08/26/20      Page 27 of 59 PageID 27


Dated:   June 26, 2020
         Houston, Texas

                                    Respectfully submitted,

                                     CEDILLO LAW FIRM    PLLC




                                        ATTORN YFORP A           Tlfi




PLAINTIFF'S FIRST REQUEST FOR PRODUCTION TO DEFENDANT - Page 9
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      Case 3:20-cv-02520-X Document 1 Filed 08/26/20              Page 28 of 59 PageID 28


                                      CAUSE NO. - - -

 DANIELLE GARDNER,                                §                   IN THE DISTRICT COURT
                                                  §
                Plaintiff,                        §
 V.                                               §                 DALLASCOUNTY,TEXAS
                                                  §
 TYSON FOODS, INC,                                §
                                                  §
                Defendant.                        §                         JUDICIAL DISTRICT

         PLAINTIFF'S FIRST SET OF INTERROGATORIES TO DEFENDANT

TO:     Defendant Tyson Foods, Inc., which may be served with service of process by serving its
        registered agent for service of process, CT Corporation System, at 1999 Bryan Street, Suite
        900, Dallas, Texas 75201.

        Pursuant to Rule 197 of the Texas Rules of Civil Procedure, Danielle Gardner serves the

following First Set of Interrogatories on Tyson Foods, Inc. The answers must be served within

fifty (50) days after the service of the interrogatories on Defendant. Each interrogatory must be

answered separately and fully in writing under oath.




PLAINTIFF'S FIRST SET OF INTERROGATORIES TO DEFENDANT -Page 1
20021/2.4.3
    Case 3:20-cv-02520-X Document 1 Filed 08/26/20                  Page 29 of 59 PageID 29


                                          DEFINITIONS

               As used herein, the following terms shall have the meanings indicated below:

       1.      "Persons" shall include individuals, natural persons, firms, corporations,

partnerships, sole proprietorships, unions, associations, federations or any other kind of entity.

       2.      "Plaintiff' or "Mrs. Gardner" shall mean Danielle Gardner.

       3.      "Defendant" or "Tyson Foods" shall mean Tyson Foods, Inc., as well as agents,

 employees, representatives, attorneys, investigators, and all other persons acting for said party.

       4.      "You" or ''your" shall refer to each respective party to whom this request is

 directed, and each such party's agents, servants, and representatives.

       5.     "Incident" shall mean the occurrence on or about October 30, 2019 when Plaintiff,

while lifting a heavy bag, allegedly injured her back.

        6.    The "Bag" shall refer to the bag Plaintiff was lifting at the time of the Incident.

        7.    "Injuries" refers to the injuries suffered by Plaintiff resulting from the Incident.

        8.    The "Premises" or "Site" refers to 4114 Mint Way in Dallas County, Texas, where

the Incident allegedly occurred.

        9.    "And" or "or" shall be construed conjunctively or disjunctively as necessary to make

the requests for production inclusive rather than exclusive.

        10.    "Referring to" "relating to" or "concerning" means to consist of, refer to, arise from,

reflect or be in any way logically or factually connected to, directly or indirectly, with a matter

discussed either in whole or in part.

        11.    As used herein, the terms "identify" or "identification":

                a.      when used in reference to a person, "identify" or "identification" shall mean
                        to state his/her full name, job description, present or last known residence
                        address and telephone number, and present or last known business address
                        and telephone number.


PLAINTIFF'S FIRST SET OF INTERROGATORIES TO DEFENDANT -Page 2
20021/2.4.3
   Case 3:20-cv-02520-X Document 1 Filed 08/26/20              Page 30 of 59 PageID 30


            b.    When used in reference to a public or private corporation, governmental
                  entity, partnership or association, "identify" or "identification" shall mean
                  to state its full name, present or last known business address or operating
                  address and telephone number, and the name of its chief executive officer
                  and telephone number.

            c.    When used in reference to a document, "identify" or "identification" shall
                  include a statement of the following:

                  1.     the title, heading, or caption, if any, of such document;

                  11.    the identifying number(s), letter(s), or combination thereof, if any,
                         and the significance or meaning of such number(s), letter(s), or
                         combination thereof, if necessary, to an understanding of the
                         document and evaluation of any claim of protection from discovery;

                  iii.   the date appearing on such document; if no date appears thereon, the
                         answer shall so state and shall give the date or approximate date on
                         which such document was prepared;

                  iv.    the number of pages and the general nature of description of such
                         document (i.e., whether it is a letter, memorandum, minutes of a
                         meeting, etc.), with sufficient particularity so as to enable such
                         document to be precisely identified;

                  v.      the name and capacity of the person who signed such document; if
                          it is not signed, the answer shall so state and shall give the name of
                          the person or persons who prepared it;

                  vi.     the name and capacity of the person to whom such document was
                          addressed and the name and capacity of such person, other than such
                          addressee, to whom such document or copy thereof was sent; and

                  vu.     the physical location of the document and the name of its
                          custodian(s).

            d.    When used in reference to an event, such as a fire or explosion, "identify"
                  or "identification" shall mean to state the following:

                  1.      type of event;

                  11.     date of the event;

                  iii.    precise location of the event;

                  1v.     cause of the event (if known); and


PLAINTIFF'S FIRST SET OF INTERROGATORIES TO DEFENDANT -Page 3
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                  v.    result of the event in tenns of damages and/or interruption of
                        operations.




PLAINTIFF'S FIRST SET OF INTERROGATORIES TO DEFENDANT -Page 4
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         PLAINTIFF'S FIRST SET OF INTERROGATORIES TO DEFENDANT


INTERROGATORY NO. 1:

               Please identify each person answenng these interrogatories or supplying

information in answering these interrogatories.

ANSWER:


INTERROGATORY NO. 2:

               Have you been properly named and served as a Defendant? If not, please describe

any defect in service or in the name used.

ANSWER:


INTERROGATORY NO. 3:

                Please provide the name, address, and telephone number of any person who is

expected to be called to testify at trial. TEX. R. C1v. P. 192.3(d).

ANSWER:


INTERROGATORY NO. 4:

                For each consulting expert whose mental impressions or opinions have been

reviewed by a testifying expert, please provide:

                (1)     the consulting expert's name, address, and telephone number;

                (2)     a description of the facts known by the consulting expert that relate to or
                        form the basis of the expert's mental impressions and opinions formed or
                        made in connection with this case, regardless of when and how the factual
                        information was acquired;

                (3)     a description of the consulting expert's mental impressions and opinions
                        formed or made in connection with this case, and any methods used to
                        derive them; and


PLAINTIFF'S FIRST SET OF INTERROGATORIES TO DEFENDANT -Page 5
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                  (4)    a description of any bias of the consulting expert.

TEX. R. Crv. P.   192.3(e).

ANSWER:


INTERROGATORY NO. 5:

                  Please describe how you contend the Incident that forms the basis of this suit and

the Injuries resulting therefrom were caused.

ANSWER:


INTERROGATORY NO. 6:

                  Concerning the Bag, please identify:

                  a.     its weight;

                  b.     its size; and

                  c.     the contents contained within the Bag.

ANSWER:


INTERROGATORY NO. 7:

                  Please identify all individuals who have knowledge of the Incident, and for each

provide his/her:

                  a. job title;

                  b. job description;

                  c. address;

                  d. whether he/she is currently employed by Defendant; and,

                  e. their knowledge of the Incident.

ANSWER:


PLAINTIFF'S FIRST SET OF INTERROGATORIES TO DEFENDANT -Page 6
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    Case 3:20-cv-02520-X Document 1 Filed 08/26/20                 Page 34 of 59 PageID 34


INTERROGATORY NO. 8.:

               Ifyou trained Plaintiffon how to safely lift/move bags ofproduct of the same size and

weight of the Bag, please identify:

               a. who trained Mrs. Gardner;

               b. whether Mrs. Gardner followed that training at the time of the Incident; and

               c. if in your view she did not, please identify each and every way Plaintiff departed
                  from her training; and

               d. identify all documents evidencing the training provided by you to Mrs. Gardner.

ANSWER:


INTERROGATORY NO. 9:

                Please describe how Plaintiff, and persons working at the Site, were to lift/move

bags of product of the same size and weight of the Bag, and, in so doing, identify all material and

equipment provided by you and to be used by Plaintiff, and persons working at the Site, for

lifting/moving bags of product of the same size and weight of the Bag at the time of the Incident.

ANSWER:


INTERROGATORY NO. 10:

                Please identify all individuals who made, or were to make, safety inspections of the

Site, including, but not limited to while Plaintiff was performing work at the Kitchen, and identify

when those inspections were made and for what purpose.

ANSWER:




PLAINTIFF'S FIRST SET OF INTERROGATORIES TO DEFENDANT-Page 7
20021/2.4.3
    Case 3:20-cv-02520-X Document 1 Filed 08/26/20       Page 35 of 59 PageID 35


Dated:   June 26, 2020
         Houston, Texas

                                     Respectfully submitted,

                                      EDiLLO LA w FIRM    p L



                                                   edillo
                                        Stat Bar o. 24080828
                                        3801 Kirby Dr. uite 510
                                        Hou ton Te as 77098
                                         832) 900-9456
                                        (832) 900- 456 (fax)
                                        moises(@cedillos1aw.com

                                        AT 0        YFORPL        TIFF




PLAINTIFF'S FIRST SET OF INTERROGATORIES TO DEFENDANT -Page 8
20021/2.4.3
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          EXHIBIT "C"
                    1 CIT/ ESERVE
                       Case 3:20-cv-02520-X Document 1 Filed 08/26/20 Page 37 of 59 PageID 37
                                              CIVIL PROCESS REQUEST

                                              FOR EACH PAR1Y SERVED YOU MUST FURNISH ONE (I) COPY OF THE PLEADING
                                             FOR WRITS FURNISH TWO (2) COPIES OF THE PLEADING PER PAR1Y TO BE SERVED

CASE NUMBER:                                 DC-20-08778                        CURRENT COURT:
                                                                                                         ----------------
                                                                                           Plaintiffs Original Petition, Plaintiffs First Request for Production to
TYPE OF INSTRUMENT TO BE SERVED (See Reverse For Types):                                   Defendant, Plaintiffs First Set oflnterrogatories to D efendant


FILE DATE OF MOTION:                                                                   6               26         2020
                                                                                    Month/            Day/          Year

SERVICE TO BE ISSUED ON (Please List Exactly As The Name Appears In The Pleading To Be Served):
1. NAME:          Tyson Foods, Inc.
          ADDRESS:   1999 Bryan Street, Suite 900, Dallas, Texas 75201
          AGENT, (if applicable): CT Corporation System
TYPE OF SERVICE/PROCESS TO BE ISSUED (see reverse for specific type): _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
          SERVICE BY (check one):
                    •
                ATIORNEY PICK-UP                               CONSTABLE        •
                    •
                CIVIL PROCESS SERVER - Authorized Person to Pick-up: _ _ _ _ _ _ _ _ _ __ Phone: _ _ _ _ __
                MAIL•                                          CERTIFIED MAIL   •
                    •
                PUBLICATION:
                   Type of Publication: COURTHOUSE DOOR, or •
                                                            •
                                        NEWSPAPEROFYOURCHOICE: _ _ _ _ _ _ _ _ _ _ _ _ _ __
             D OfHER, explain Please Email Citation to attorney Moises Cedillos at moises@cedilloslaw.com
******************************************************************************************************

****

2.        NAME:
          ADDRESS:

          AGENT, (if applicable ):
TYPE OF SERVICE/PROCESS TO BE ISSUED (see reverse for specific type): _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
          SERVICE BY (check 011e):
             0 ATI'ORNEYPICK-UP                                                 0    CONSTABLE
                    •          CIVIL PROCESS SERVER - Authorized Person to Pick-up:                                                Phone:
                                                                                                                                            ------
                    •           MAIL                                            •    CERTIFIED MAIL
                    •           PUBUCATION:
                                     Type of Publication:   •   COURTHOUSE DOOR, or
                                                            •   NEWSPAPEROFYOURCHOICE: _ _ _ _ _ _ _ _ _ _ _ _ _ __
                     D         OfHER, explain - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -


ATTORNEY (OR ATTORNEY'S AGENT) REQUESTING SERVICE:
NAME:                    J. Moises Cedillos                                           TEXAS BAR NO./ID NO.                 24080828
MAILING ADDRESS:                               3801 Kirby Dr., Suite 510, Houston, Texas 77098
PHONENUMBER:                                 832             900-9456                        FAX.NUMBER:            832            900-9456
                                              area code          phone number                                      area code           fax number

                 m_o_i_se_s~®~c_e_d_ill_o_s_l_aw_.c_o_m
EMAIL ADDRESS: _ _                                    _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __



                                                                                Page I of2
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         Case 3:20-cv-02520-X Document 1 Filed 08/26/20                                       Page 38 of 59 PageID 38




FORM NO. 353-3 - CITATION                                                                                           ESERVE

THE STATE OF TEXAS                                                                                              CITATION
To:
        TYSON FOODS, INC.
                                                                                                               DC-20-08778
        SERVING REGISTERED AGENT CT CORPORATION SYSTEM
        1999 BRYAN STREET SUITE 900
        DALLAS TEXAS 75201                                                                                   DANIELLE GARDNER
                                                                                                                     vs.
GREETINGS:                                                                                                    TYSON FOODS INC.
You have been sued. You may employ an attorney. If you or your attorney do not file a written
answer with the clerk who issued this citation by 10 o'clock a.m. of the Monday next following the
expiration of twenty days after you were served this citation and petition, a default judgment may be           ISSUED THIS
taken against you. Your answer should be addressed to the clerk of the 298th District Court at 600          30th day of June, 2020
Commerce Street, Ste. 101, Dallas, Texas 75202.

Said Plaintiff being DANIELLE GARDNER                                                                         FELICIA PITRE
                                                                                                            Clerk District Courts,
Filed in said Court 26th day of June, 2020 against                                                          Dallas County, Texas

TYSON FOODS, INC.
                                                                                                        By: DANIEL MACIAS, Deputy
For Suit, said suit being numbered DC-20-08778, the nature of which demand is as follows:
Suit on OTHER PERSONAL INJURY etc. as shown on said petition REQUEST FOR DISCLOSURE,
PRODUCTION AND INTERROGATORIES, a copy of which accompanies this citation. If this                         Attorney for Plaintiff
citation is not served, it shall be returned unexecuted.                                                    J MOISES CEDILLOS
                                                                                                           3801 KIRBY DR STE 510
WITNESS: FELICIA PITRE, Clerk of the District Courts of Dallas, County Texas.                               HOUSTON TX 77098
Given under my hand and the Seal of said Court at office this 30th day ofJune, 2020.                            832-900-9456
                                                                                                        MOISES@CEDILLOSLA W.COM
ATT EST: FELICIA PITRE, Clerk of the District Courts of Dallas, Coun ty, Texas

                        By      /     2
                              DANJ£L MACIAS
                                                l---                 , Deputy

                                                                                                        DALLAS COUNTY
                                                                                                         SERVICE FEES
                                                                                                            OTPAID
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                                                                       OFFICER'S RETURN
Case No. : DC-20-08778
Court No.298th District Court
Style: DANIELLE GARDNER
vs.
TYSON FOODS INC.
Came to hand on the ________________day of __________________, 20_________, at __________o'clock_________.M. Executed at ______________________________,
within the County of __________________________ at ____________ o'clock _______ .M. on the ________________day of_________________________________________,
20_______________, by delivering to the within named
____________________________________________________________________________________________________
____________________________________________________________________________________________________________
each, in person, a true copy of this Citation together with the accompanying copy of this pleading, having first endorsed on same date of delivery. The distance actually traveled by
me in serving such process was _________miles and my fees are as follows: To certify which witness my hand.
                                For serving Citation        $__________                    _______________________________________________
                                For mileage                  $__________                   of__________________County, ____________________
                                For Notary                   $__________                   By______________________________________Deputy
                                                              (Must be verified if served outside the State of Texas.)
Signed and sworn to by the said__________________________before me this_______day of _____________________, 20_______,
to certify which witness my hand and seal of office.


                                                                                          _____________________________________________________

                                                                                          Notary Public___________________County_______
Case 3:20-cv-02520-X Document 1 Filed 08/26/20   Page 40 of 59 PageID 40




          EXHIBIT "D"
                                                                                                                    FILED
                                                                                                        7/28/2020 10:06 AM
                                                                                                          FELICIA PITRE
   Case 3:20-cv-02520-X Document 1 Filed 08/26/20                 Page 41 of 59 PageID 41             DISTRICT CLERK
                                                                                                   DALLAS CO., TEXAS
                                                                                                 Deondria Grant DEPUTY


                                    CAUSE NO. DC-20-08778

DANIELLE GARDNER                                   §
PLAINTIFF                                          §
                                                   §
VS.                                                §                      IN THE 298th District Court
                                                   §
TYSON FOODS INC.                                                              DALLAS COUNTY, TX
                                                   §
DEFENDANT
                                                   §
                                                   §
                                                   §
                                                   §


                                       RETURN OF SERVICE

ON Tuesday, July 21, 2020 AT 5:41 PM
CITATION, PLAINTIFF'S ORIGINAL PETITION, PLAINTIFF'S FIRST REQUEST FOR PRODUCTION TO
DEFENDANT, PLAINTIFF'S FIRST SET OF INTERROGATORIES TO DEFENDANT for service on TYSON
FOODS, INC C/O REGISTERED AGENT CT CORPORATION SYSTEM came to hand.

ON Monday, July 27, 2020 AT 3 :28 PM, I , DON ANDERSON, PERSONALLY DELIVERED THE
ABOVE-NAMED DOCUMENTS TO: TYSON FOODS, INC C/O REGISTERED AGENT CT
CORPORATION SYSTEM, by delivering to Lindsey Barrientez, 1999 BRYAN STREET SUITE 900,
DALLAS, DALLAS COUNTY, TX 75201.

My name is DON ANDERSON. My address is 1900 Brown, BALCH SPRINGS, TX 75180. I am a
private process server certified by the Texas Judicial Branch Certification Commission (PSC 4232,
expires 8/31/2020). My e-mail address is info@easy-serve.com. My date of birth is 7/14/1956. I am
in all ways competent to make this statement, and this statement is based on personal knowledge. I
am not a party to this case and have no interest in its outcome. I declare under penalty of perjury
that the foregoing is true and correct.

Executed in DALLAS COUNTY, TX on Monday, July 27, 2020.

/5/ DON ANDERSON




20021

Doc ID: 274779_ 1
         Case 3:20-cv-02520-X Document 1 Filed 08/26/20                                       Page 42 of 59 PageID 42




FORM NO. 353-3 - CITATION                                                                                           ESERVE

THE STATE OF TEXAS                                                                                              CITATION
To:
        TYSON FOODS, INC.
                                                                                                               DC-20-08778
        SERVING REGISTERED AGENT CT CORPORATION SYSTEM
        1999 BRYAN STREET SUITE 900
        DALLAS TEXAS 75201                                                                                   DANIELLE GARDNER
                                                                                                                     vs.
GREETINGS:                                                                                                    TYSON FOODS INC.
You have been sued. You may employ an attorney. If you or your attorney do not file a written
answer with the clerk who issued this citation by 10 o'clock a.m. of the Monday next following the
expiration of twenty days after you were served this citation and petition, a default judgment may be           ISSUED THIS
taken against you. Your answer should be addressed to the clerk of the 298th District Court at 600          30th day of June, 2020
Commerce Street, Ste. 101, Dallas, Texas 75202.

Said Plaintiff being DANIELLE GARDNER                                                                         FELICIA PITRE
                                                                                                            Clerk District Courts,
Filed in said Court 26th day of June, 2020 against                                                          Dallas County, Texas

TYSON FOODS, INC.
                                                                                                        By: DANIEL MACIAS, Deputy
For Suit, said suit being numbered DC-20-08778, the nature of which demand is as follows:
Suit on OTHER PERSONAL INJURY etc. as shown on said petition REQUEST FOR DISCLOSURE,
PRODUCTION AND INTERROGATORIES, a copy of which accompanies this citation. If this                         Attorney for Plaintiff
citation is not served, it shall be returned unexecuted.                                                    J MOISES CEDILLOS
                                                                                                           3801 KIRBY DR STE 510
WITNESS: FELICIA PITRE, Clerk of the District Courts of Dallas, County Texas.                               HOUSTON TX 77098
Given under my hand and the Seal of said Court at office this 30th day ofJune, 2020.                            832-900-9456
                                                                                                        MOISES@CEDILLOSLA W.COM
ATT EST: FELICIA PITRE, Clerk of the District Courts of Dallas, Coun ty, Texas

                        By      /     2
                              DANJ£L MACIAS
                                                l---                 , Deputy

                                                                                                        DALLAS COUNTY
                                                                                                         SERVICE FEES
                                                                                                            OTPAID
           Case 3:20-cv-02520-X Document 1 Filed 08/26/20                                                                Page 43 of 59 PageID 43




                                                                       OFFICER'S RETURN
Case No. : DC-20-08778
Court No.298th District Court
Style: DANIELLE GARDNER
vs.
TYSON FOODS INC.
Came to hand on the ________________day of __________________, 20_________, at __________o'clock_________.M. Executed at ______________________________,
within the County of __________________________ at ____________ o'clock _______ .M. on the ________________day of_________________________________________,
20_______________, by delivering to the within named
____________________________________________________________________________________________________
____________________________________________________________________________________________________________
each, in person, a true copy of this Citation together with the accompanying copy of this pleading, having first endorsed on same date of delivery. The distance actually traveled by
me in serving such process was _________miles and my fees are as follows: To certify which witness my hand.
                                For serving Citation        $__________                    _______________________________________________
                                For mileage                  $__________                   of__________________County, ____________________
                                For Notary                   $__________                   By______________________________________Deputy
                                                              (Must be verified if served outside the State of Texas.)
Signed and sworn to by the said__________________________before me this_______day of _____________________, 20_______,
to certify which witness my hand and seal of office.


                                                                                          _____________________________________________________

                                                                                          Notary Public___________________County_______
Case 3:20-cv-02520-X Document 1 Filed 08/26/20   Page 44 of 59 PageID 44




          EXHIBIT "E"
                                                                                                       FILED
                                                                                          8/14/2020 9:51 AM
                                                                                              FELICIA PITRE
     Case 3:20-cv-02520-X Document 1 Filed 08/26/20     Page 45 of 59 PageID 45            DISTRICT CLERK
                                                                                       DALLAS CO., TEXAS
                                                                                      Kellie Juricek DEPUTY



                               CAUSE NO. DC-20-08778

DANIELLE GARDNER,                        §       IN THE DISTRICT COURT
                                         §
        Plaintiff,                       §
                                         §
v.                                       §       298TH JUDICIAL DISTRICT
                                         §
TYSON FOODS, INC.,                       §
                                         §
        Defendant.                       §       DALLAS COUNTY, TEXAS



             DEFENDANT TYSON FOODS, INC.’S ORIGINAL ANSWER



        COMES NOW, Defendant Tyson Foods, Inc. (“Defendant”), and files its

Original Answer to Plaintiff Danielle Gardner’s ("Plaintiff") Original Petition as

follows:

                                       I.
                                 GENERAL DENIAL

        1.      Defendant denies each and every, all and singular, the material

allegations contained within Plaintiff’s pleading and demands strict proof thereof.

                                      II.
                             AFFIRMATIVE DEFENSES

        2.      Pleading further, alternatively, and by way of affirmative defense,

Defendant would state that in the unlikely event that an adverse judgment would

be rendered against it, Defendant would respectfully request all available credits

and/or offsets as provided by the Texas Civil Practice and Remedies Code and under

Texas law.




DEFENDANT’S ORIGINAL ANSWER
7347394v1(58140.00201)                                                  PAGE 1 OF 6
  Case 3:20-cv-02520-X Document 1 Filed 08/26/20        Page 46 of 59 PageID 46



      3.     Pleading further, alternatively, and by way of affirmative defense,

Defendant asserts that in addition to any other limitation under law, Plaintiff’s

recovery of medical or health care expenses, if any, should be limited to the amount

actually paid or incurred by or on behalf of Plaintiff pursuant to Section 41.0105 of

the Texas Civil Practices and Remedies Code.

      4.     By way of affirmative defense, Defendant invokes Chapter 33 of the

Texas Civil Practices & Remedies Code and pleads that Plaintiff’s claims are

barred, in whole or in part, by the contributory and/or comparative negligence of

Plaintiff and/or other parties, or alternatively, that the conduct of other parties,

including Plaintiff, was an independent, intervening, superseding, and/or the sole

proximate cause of Plaintiff’s alleged damages. Therefore, Defendant is not liable

for such damages.

      5.     By way of affirmative defense, Defendant pleads that Plaintiff’s

damages, if any, were caused by preexisting injuries and/or preexisting medical

conditions that occurred or arose before the incident forming the basis of this

lawsuit.

      6.     By way of affirmative defense, Defendant pleads that, pursuant to the

Patient Protection and Affordable Care Act (“ACA”) and common-law, Plaintiff has

a duty to mitigate the amount of future damages for medical care by purchasing a

health insurance policy no later than March 31, 2014 in accordance with the

Individual Mandate prescribed in 26 U.S.C. § 5003A, et.seq. Further, Defendant’s

potential liability for future medical care should be limited to the amounts not

covered under the ACA for co-pays and deductibles. In the alternative, if Plaintiff
DEFENDANT’S ORIGINAL ANSWER
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has purchased a health insurance policy pursuant to the Individual Mandate,

Plaintiff’s future medical expenses are limited to the amount the ACA will actually

pay for medical expenses and not the full retail cost of future medical care.

      7.     By way of affirmative defense, Defendant pleads that Plaintiff’s claims

are barred or limited, in whole or in part, by Plaintiff’s failure to mitigate damages

and failure to take the reasonable steps that a person of ordinary prudence in a

similar situation would have taken to avoid the damages claimed by Plaintiff.

Accordingly, Defendant is entitled to an instruction to the jury that they shall not

consider elements of damages incurred and caused by Plaintiff’s failure to mitigate

damages.

      8.     Pleading further, alternatively, and by way of affirmative defense,

Defendant asserts that Plaintiff’s claims, if any, for exemplary, punitive or other

damages are barred, limited, restricted, and/or governed by the provisions of

Chapter 41 of the Texas Civil Practice & Remedies Code and any other applicable

statute concerning the recovery of damages and the common law of Texas.

Accordingly, Defendant specifically pleads the limitations, restrictions and/or bar on

the recovery by Plaintiff of such damages in accordance with Chapter 41 and other

applicable law.

      9.     Pleading further, alternatively, and by way of affirmative defense,

Defendant pleads the defense of unconstitutionality, in that any award of punitive

or exemplary damages would constitute the imposition of a criminal penalty

without the safeguards guaranteed by the Fifth, Sixth, Eighth and Fourteenth

Amendments of the Constitution of the United States and similar provisions of the
DEFENDANT’S ORIGINAL ANSWER
7347394v1(58140.00201)                                                   PAGE 3 OF 6
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Texas Constitution. Furthermore, the imposition of such punitive or exemplary

damages constitutes an excessive fine under the Eighth Amendment, denies equal

protection of the laws under the Fourteenth Amendment, and violates the due

process clause of the Fifth and Fourteenth Amendments. Defendant pleads that any

claim by Plaintiff for punitive damages should be stricken as unconstitutional and

that any award of punitive or exemplary damages should be set aside for the

reasons stated above. Defendant further pleads that Plaintiff’s claims for punitive

or exemplary damages should be stricken in the absence of Plaintiff making some

prima facie showing supporting such claims.

      10.    Defendant hereby gives notice that it intends to rely upon such other

defenses or denials, affirmative or otherwise, and to assert third-party claims and

any other claims, as may become available or appear during discovery as it proceeds

in this matter.

                                      III.
                                  JURY DEMAND

      11.    In accordance with Rule 216 of the Texas Rules of Civil Procedure,

Defendant demands a trial by jury.

                                  IV.
                     NOTICE OF SELF-AUTHENTICATION

      12.    In accordance with Rule 193.7 of the Texas Rules of Civil Procedure,

Defendant hereby provides written notice that they intend to use self-authenticated

documents against Plaintiff at any future pretrial proceeding, trial, or appeal in this

matter.


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                                     PRAYER

      WHEREFORE, PREMISE CONSIDERED, Defendant Tyson Foods, Inc.

prays that Plaintiff takes nothing by this suit, that Defendant goes hence with its

costs without delay, and for such other and further relief, both general and special,

at law and in equity, to which Defendant may show itself justly entitled.

                                        Respectfully submitted,

                                        MAYER LLP
                                        750 N. St. Paul Street, Suite 700
                                        Dallas, Texas 75201
                                        Telephone: 214.379.6900
                                        Facsimile: 214.379.6939


                                        By:    /s/ Zach T. Mayer
                                              Zach T. Mayer
                                              State Bar No. 24013118
                                              zmayer@mayerllp.com
                                              J. Edward Johnson
                                              State Bar No. 24070001
                                              ejohnson@mayerllp.com
                                              Brandon W. Maxey
                                              State Bar No. 24092777
                                              bmaxey@mayerllp.com

                                        ATTORNEYS FOR DEFENDANT
                                        TYSON FOODS, INC.




DEFENDANT’S ORIGINAL ANSWER
7347394v1(58140.00201)                                                  PAGE 5 OF 6
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                          CERTIFICATE OF SERVICE

       This is to certify that on the 14th day of August 2020, a true and correct copy
of the foregoing has been forwarded to all counsel of record, as follows:

      Via eFileTexas.gov:
      moises@cedilloslaw.com
      J. Moises Cedillos
      CEDILLOS LAW FIRM, PLLC
      3801 Kirby Drive, Suite 510
      Houston, Texas 77098



                                               /s/ Zach T. Mayer
                                                       Zach T. Mayer




DEFENDANT’S ORIGINAL ANSWER
7347394v1(58140.00201)                                                  PAGE 6 OF 6
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                         Automated Certificate of eService
This automated certificate of service was created by the efiling system.
The filer served this document via email generated by the efiling system
on the date and to the persons listed below. The rules governing
certificates of service have not changed. Filers must still provide a
certificate of service that complies with all applicable rules.

Shannon Pilgrim on behalf of Zachary Thomas Mayer
Bar No. 24013118
spilgrim@mayerllp.com
Envelope ID: 45383327
Status as of 08/14/2020 11:55:56 AM -05:00

Case Contacts

Name                 BarNumber   Email                     TimestampSubmitted     Status

Jocelyn Pineda                   info@cedilloslaw.com      8/14/2020 9:51:55 AM   SENT

J. Moises Cedillos               moises@cedilloslaw.com 8/14/2020 9:51:55 AM      SENT

Jocelyn Pineda                   jocelyn@cedilloslaw.com   8/14/2020 9:51:55 AM   SENT

Cathy Preston                    cpreston@mayerllp.com     8/14/2020 9:51:55 AM   SENT



Associated Case Party: TYSON FOODS INC.

Name                 BarNumber   Email                     TimestampSubmitted     Status

Brandon W.Maxey                  bmaxey@mayerllp.com       8/14/2020 9:51:55 AM   SENT

Zach Mayer                       zmayer@mayerllp.com       8/14/2020 9:51:55 AM   SENT

Edward Johnson                   ejohnson@mayerllp.com     8/14/2020 9:51:55 AM   SENT
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           EXHIBIT "F"
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                                       FELICIA PITRE
                           DALLAS COUNTY DISTRICT CLERK

                                   NINA MOUNTIQUE
                                      CHIEF DEPUTY




                            CAUSE NO. DC-20-08778



                               DANIELLE GARDNER

                                             vs.

                                TYSON FOODS INC.



                                298t h Dist rict Court



                    ENTER DEMAND FOR JURY
                             JURY FEE PAID BY: DEF

                                   FEE PAID: 40.00




                600 COMMERCE STREET DALLAS, TEXAS 75202 (214) 653-7261
                     FAX (2 14)653-7781 E-mail: Felicia.Pitre@dallascounty.org
                     Web site: http://www.dallascounty.org/distclerk/index.html
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          EXHIBIT "G"
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                                   298TH DISTRICT COURT
                             GEORGE L. ALLEN, SR. COURTS BUILDING
                                   600 COMMERCE STREET
                                  DALLAS, TEXAS 75202-4604

                                                                August 17, 2020
J MOISES CEDILLOS
3801 KIRBY DR STE 510
HOUSTON TX 77098



DC-20-08778
DANIELLE GARDNER vs. TYSON FOODS INC.


ALL COUNSEL OF RECORD/PRO SE LITIGANTS:

PLEASE TAKE NOTE OF THE FOLLOWING SETTINGS:

                        JURY TRIAL:   04/26/2021 @ 9:00 AM

TRIAL ANNOUNCEMENTS MUST BE MADE IN ACCORDANCE WITH RULE 3.02, LOCAL RULES OF
THE CIVIL COURT OF DALLAS COUNTY, TEXAS.

WHEN NO ANNOUNCEMENT IS MADE FOR DEFENDANT, DEFENDANT WILL BE PRESUMED READY.
IF NO PLAINTIFF FAILS TO ANNOUNCE OR TO APPEAR AT TRIAL, THE CASE WILL BE DISMISSED
FOR WANT OF PROSECUTION IN ACCORDANCE WTTH RULE 165a, TEXAS RULES OF CTVTL
PROCEDURE.

COMPLETION OF DISCOVERY, PRESENTATION OF PRETRIAL MOTIONS AND OTHER MATTERS
RELATING TO PREPARATION FOR TRIAL ARE GOVERNED BY THE TEXAS RULES OF CIVIL
PROCEDURE.

PLEASE FORWARD A COPY OF THIS NOTICE TO COUNSEL OF RECORD FOR EACH PARTY AND ALL
PRO SE PARTIES BY A METHOD APPROVED IN TEXAS RULES OF CIVIL PROCEDURE 21a.

SINCERELY,



EMILY TOBOLOWSKY
JUDGE, 298TH DISTRICT COURT
DALLAS COUNTY, TEXAS

Cc:
J MOISES CEDILLOS; ZACH T MAYER
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          EXHIBIT "H"
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                                   298TH DISTRICT COURT
                             GEORGE L. ALLEN, SR. COURTS BUILDING
                                   600 COMMERCE STREET
                                  DALLAS, TEXAS 75202-4604

                                                                August 17, 2020
File Copy




DC-20-08778
DANIELLE GARDNER vs. TYSON FOODS INC.


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SINCERELY,



EMILY TOBOLOWSKY
JUDGE, 298TH DISTRICT COURT
DALLAS COUNTY, TEXAS

Cc:
J MOISES CEDILLOS; ZACH T MAYER
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           EXHIBIT "I"
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                                   298TH DISTRICT COURT
                             GEORGE L. ALLEN, SR. COURTS BUILDING
                                   600 COMMERCE STREET
                                  DALLAS, TEXAS 75202-4604

                                                                August 17, 2020
ZACH T MAYER
Attn MAYER LLP
750 N ST PAUL ST STE 700
DALLAS TX 75201



DC-20-08778
DANIELLE GARDNER vs. TYSON FOODS INC.


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SINCERELY,



EMILY TOBOLOWSKY
JUDGE, 298TH DISTRICT COURT
DALLAS COUNTY, TEXAS

Cc:
J MOISES CEDILLOS; ZACH T MAYER
